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    1 Russell G. Petti, State Bar No. 137160
      THE LAW OFFICES OF RUSSELL G. PETTI
    2 466 Foothill Blvd., # 389
      La Canada, California 91011
    3 818 952-2168Telephone
      818 952-2186 Facsimile
    4 Email: Rpetti@petti-legal.com

    5   Counsel for Plaintiff Jocelyn Masako Higa
    6
                             UNITED STATES DISTRICT COURT
    7
                           CENTRAL DISTRICT OF CALIFORNIA
    8

    9
        JOCELYN MASAKO HIGA,          ) Case No. 2:22-5108-JLS-AFM
   10                                 )
                 Plaintiff,           ) NOTICE OF SETTLEMENT
   11                                 )
            vs.                       )
   12                                 )
        UNIVERSITY OF SOUTHERN        )
   13   CALIFORNIA, and UNIVERSITY OF )
        SOUTHERN CALIFORNIA LONG )
   14   TERM DISABILITY PLAN,         )
                                      )
   15            Defendants.          )
                                      )
   16

   17         Notice is hereby provided to the Court that the parties have reached a
   18   complete settlement of this matter. The parties request that the pending dates be
   19   taken off calendar and that they be given 60 days to finalize the settlement
   20   paperwork and submit a stipulation for dismissal.
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   22   DATED: August 29, 2023          Law Offices of Russell G. Petti
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   24                                   BY S/Russell G. Petti
                                          Russell G. Petti
   25                                     Attorney for Plaintiff
                                          Jocelyn Higa
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